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Fi|| in this information to identify your case:

Debtor1 Roger L. Unger

First Name Middle Name Last Name

Debtor 2
(Spouse if, Hling) First Name Middle Name Last Name

 

United States Banl<ruptcy Court for the: NORTHERN DlSTR|CT OF FLOR|DA

 

Case number 18_40443
(ifknown) l Check if this is an
amended filing

 

 

 

Ofiicial Form 106E/F y _
Scheduie E/F: Creditors Who Have Unsecured C|aims 12/15

Be as complete and accurate as possibie. Use Part 1 for creditors with PRlORlTY claims and Part 2 for creditors with NONPR|OR|TY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule AIB: Property (Officia| Form 106AIB) and on
Schedule G: Executory Contracts and Unexpired Leases (Of'ficia| Form 1066). Do not include any creditors with partially secured claims that are listed in
Schedu|e D: Creditors Who Have C|aims Secured by Property. |f more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
|eft. Attach the Continuation Page to this page. if you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).

Part1: List A|| of Your PRlORlTY Unsecured C|aims

1. Do any creditors have priority unsecured claims against you?

i:i No. Go to Part 2.

- Yes.
2§ :List all of your priority unsecured '

   

 
  
  

" st if a creditor has more than one priority unsecured ciaim§; list the creditor separately for each claim For ea claim iist`ed,r

» f '1dent11‘y what type of claim lt is. ii a c as both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amount s much as r»

' ossibie list the claims in aiphabe_ti rder according to the creditors name. ii you have more than two p ' Ured claims till out the Cohtinu on Page` of
ore than one creditor holds particular claim kist the other creditors 1n Part 3 . . ' .

    
 
  

 

        

(For an xpl_ nation of ea h type of claim, see the instructions for this form in the instruction booklet) z » : z :
Nonpriority `

 

 

 

 

 

Tota| c lm
, .. '_jfam<`>unf v;
2.1 Chery|| Olah ' Last 4 digits of account number $30.08 $30.08 $0.00
Priority Creditor's Name
Waku||a County Tax Co|iector When WaS the debt incurred?
PO Box 280
Crawfordvi||e, FL 32326
Number Street City State le Code As of the date you fi|e, the claim is: Check all that apply
Who incurred the debt? Check one. E| Commgem
l Debtor1 only i:i Unliquidated
i:i Debtor 2 only i:i Disputed
l:l Debtor1 and Debtor 2 On|y Type of PRlORlTY unsecured claim:
i:i At least one of the debtors and another m Domestic SUPP°Vt °b|igations
i:i Check if this claim is for a community debt - Taxes and certain other debts you owe the government
is the claim subject to offset? i:i C|aims for death or personal injury Whi|e you Were intoxicated
- NO i:i Other. Specify
i:i Yes

 

List A11 onour NoNPRioRlTY unsecured claims

3. Do any creditors have nonpriority unsecured claims against you?

i:i No. You have nothing to report in this partl Submit this form to the court vvith your other schedules

- Yes.

 

Total.c|alm ` v

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Debtor1 Roger L. Unger

American Express

Nonpriority Creditor's Name
Post Office Box 360001
Fort Lauderda|e, FL 33336-0001

 

Number Street City State le Code
Who incurred the debt? Check one.

- Debtor1 only

i:i Debtor 2 only

l:| Debior 1 and Debtor 2 oniy

i:i At least one of the debtors and another

i:i Check if this claim is for a, community
debt
ls the claim subject to offset?

i No
i:i Yes

Case number (if knew) 18.40443

 

Last 4 digits of account number

$25,100.00

When was the debt incurred?

 

As of the date you file, the claim is: Check all that apply

L__i Contingent
l:l unliquidated

El Disputed
Type of NONPR|OR|TY unsecured claim:

ij Student loans

i:i Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

i:i Debts to pension or profit-sharing plans, and other similar debts

Other_ Specjfy Credit Card

 

 

Bank of America
Nonpriority Creditor's Name

PO Box 982234
E| Paso, TX 79998-2234

 

Number Street City State Z|p Code
Who incurred the debt? Check one.

- Debtor 1 only

i:i Debtor 2 only

i:i Debtor 1 and Debtor2 only

i:i At least one of the debtors and another

i:i Check if this claim is for a community
debt

ls the claim subject to offset?

Last 4 digits of account number 3162 $20,701.88

When was the debt incurred?

 

As of the date you file, the claim is: Check all that apply

i:i Contingent
i:i Unliquidated

i:i Disputed
Type of NONPR|OR|TY unsecured claim:

i:i Student loans

i:i Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

 

 

 

 

 

 

 

l NO i:i Debts to pension or profit-sharing plans, and other similar debts
l:l Yes l Other` Specify Credit card purchases
4.3 Chase Last 4 digits of account number $20,701_88 1

Nonpriority Creditor's Name l
Post Office Box 15298 When was the debt incurred? j
Wi|mington, DE 19850-5298 1
Number Street City State le Code As of the date you file, the claim is: Check all that apply .;
Who incurred the debt? Check one.
- Debtor1 only i:i Contingent
l:l Debtorz oniy lIl uniiquidaied
i._.i Debtor1 and Debtor 2 only i:i Disputed
i:i At least one of the debtors and another Type of NONPR|OR|TY unsecured C|aim:
i:i Check if this claim is for a community m Student loans
debt i:i Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
l No i._.] Debts to pension or profit-sharing plans, and other similar debts
i:i Yes i Other_ Specify Credit Card

Of'iicial Form 106 E/F Schedu|e E/F: Creditors Who Have Unsecured Claims Page 2 of 7

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Debtor 1 Roger L. Unger Case number (ifi<new) 18-40443
4~4 Cintas Corporation Last 4 digits of account number 6692 $2,702.61
Nonpriority Creditor's Name
PO BOX 630910 When was the debt incurred?
Cincinnati, OH 45263-0910
Number Street City State le Code As of the date you ti|e, the claim is: Check all that apply
Who incurred the debt? Check one.
. Debtor 1 only l:l Contingent
i:i Debtor 2 only ij Unliquidated
i:_i Debtor1 and Debtor2 only l:l Disputed
i:l At least one of the debtors and another Type of NONPR|CRITY unsecured claim:
[:l Check if this claim is for a community |:] Student loans .
debt l:l Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
i NO i:l Debts to pension or profit-sharing plans, and other similar debts
i:l Yes - Other_ gpecify Trade debt
4.5 Club Wyndham Last 4 digits of account number 7703 $856.70
Nonpriority Creditor's Name
PO Box 98940 When was the debt incurred?
Las Vegas, NV 89193-8940
Number Street City State le Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
- Debtor1 only i:i Contingent
i:l Debtor 20nly i:i Unliquidated
m Debtor 1 and Debtor2 only l:l Disputed
l:l At least one of the debtors and another Type of NONPR|OR'TV unsecured eleim:
i:i Check if this claim is for a community m Student loans
debt i:i Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
- NO l:l Deth to pension or profit-sharing plans, and other similar debts
n Yes - Other. Specify
Discover Last 4 digits of account number $4,967_73
Nonpriority Creditor's Name
Post Offjce Box 6103 When was the debt incurred?
Caro| Stream, |L 60197-6103
Number Street City State le Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
- Debtor1 only l:l Contingent
i:i Debtor2 only i:i Un|lquidated
i:i Debtor 1 and Debtor2 only l:i Disputed
l:i At least one of the debtors and another Type of NONPR|OR|TY unsecured claim:
i:i Check if this claim is for a community m Student loans
debt i:i Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
- NO i:l Debts to pension or profit-sharing plans, and other similar debts
m Yes - Other_ Specify Credit Card
Officia| Form 106 E/F Schedu|e E/F: Creditors Who Have Unsecured Claims Page 3 of 7
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Debtor1 Roger L. Unger

Case number (ir know) 18-40443

 

 

4-7 Georgia-Florida Alarm

 

Nonpriority Creditor's Name
PO Box 2747
Thomasville, GA 31799

 

Number Street City State le Code
Who incurred the debt? Check one.

- Debtor 1 only

l:l Debtor 2 only

El Debtor 1 and Debtor 2 only

l:l At least one of the debtors and another

l:l Check if,this claim is for a community
debt
ls the claim subject to offset?

- No
l:l Ves

Last 4 digits of account number

6946 $112.89

When was the debt incurred?

 

As of the date you file, the claim is: Check all that apply

l:l Contingent
l:l unliquidated

m Disputed
Type of NONPR|OR|TY unsecured claim:

|:] Student loans

l:l Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

n Deth to pension or profit-sharing plans, and other similar debts

l Other. Specify Trade debt

 

 

nn

Harper Revell Heating & Air, lnc.
Nonpriority Creditor's Name

3015 Nathan Lane

Tallahassee, FL 32308

 

Number Street City State le Code

Who incurred the debt? Check one.

- Debtor1 only

l:l Debtor 2 only

l:l Debtor 1 and Debtor 2 only

cl At least one of the debtors and another

|:l Check if this claim is for a community
debt
ls the claim subject to offset?

Last 4 digits of account number

9807 $695.00

When was the debt incurred?

 

As of the date you file, the claim is: Check all that apply

l:l Contingent
m Unliquidated

m Disputed
Type of NONPR|OR|TY unsecured claim:

l:l Student loans

l:l Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

 

 

 

 

 

 

 

- NO l:l Debts to pension or profit-sharing plans, and other similar debts
|:] Yes - Other_ Specify Trade debt
4.9 N|arpan Last 4 digits of account number $101_10

Nonpriority Creditor's Name
PO Box 2063 When was the debt incurred?
Tallahassee, FL 32316-2068
Number Street City State le Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
- Debtor1 only m Contingent
El Debtor 2 only l:l unliquidated
l:] Debtor1 and Debtor2 only |:l Disputed
|:l At least one of the debtors and another Type of NONPR|OR|TY unsecured claim:
m Check if this claim is for a community m Student loans
debt l:l Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
- NO m Deth to pension or profit-sharing plans, and other similar debts
m Yes - Other_ Spec;fy Trade debt

Officia| Form 106 E/F Schedule E/F: Creditors Who Have Unsecured C|aims Page 4 of 7

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Debtor1 Roger L. Unger

 

 

 

Case number (ifl<now)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

4.1

0 NUC02 Last 4 digits of account number 4375 $971-59
Nonpriority Creditor's Name
PO Box 4179(]2 When was the debt incurred?
Boston, MA 02241-7902
Number Street City State le Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
- Debtor1 only l:l Contingent
El Debtqr 2 only El unliquidated
l:l Debtor1 and Debtor 2 only l:l Disputed
l:l At least one of the debtors and another Type °r NONPRlORlTY unsecured claim:
l:l 'Check if this claim is for a community l:l Sludenl loans
debt l:l Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
- No l:l Debts to pension or profit-sharing plans, and other similar debts
L__l Yes - Other_ Specify Trade debt

4.1 . ' `

1 Regl°ns Bank Last 4 digits of account number 3864 $28,867.20

' Nonpriority Creditor's Name

Post Office Box 1984 When was the debt incurred?
Birmingham, AL 35201
Number Street City State le Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
- Debtor1 only l:l Contingent
m Debtor 2 only l:l Unliquidated
l:l Debtor 1 and Debtor 2 only |:l Disputed
l:l At least one of the debtors and another Type er NONPR'OR'TY unsecured claim:
m Check if this claim is for a community l:l Student loans
debt l:l Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
- NO l:l Debts to pension or profit-sharing plans, and other similar debts
|:l Yes - Other_ Specify Trade debt

4.1

2 SynChl'Ony Bank Last 4 digits of account number $1,559-88 `
Nonpriority Creditor's Name §
|_owe'$ When was the debt incurred? '
PO Box 530914
Atlanta, GA 30353-0914
Number Street City State Z|p Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one. -
- Debtor 1 only m Contingent
|:l Debtor2 only lIl unliquidated
l:| Debtor1 and Debtor2 only |:l Disputed
l:l At least one of the debtors and another Type er NONPRlORlTY unsecured claim:
|:l Check if this claim is for a community [:l Student loans
debt l:l Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
- NO L_.] Debts to pension or proHt-sharing plans, and other similar debts
l:| Yes l Other_ gpecify Credit card purchases

Oi°ficial Form 106 E/F Schedule ElF: Creditors Who Have Unsecured Claims Page 5 of 7

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Debtor1 Roger L. Unger

 

 

 

Case number (itknew)

 

Tallahassee Highpoint Creditors,

 

 

1 8-40443

 

 

 

 

 

 

 

 

 

 

 

 

 

 

3 Ltd. Last 4 digits of account number $84,966.74
Nonpriority Creditor's Name
C/O David C. Strong When was the debt incurred?
1201 S. Orlando Street
Suite 203
Winter Park, FL 32789
Number Street City State le Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
- Debtor1 only l:l Contingent
m Debtor 2 only l:l Unliquidated
§ Debtor 1 and Debtor 2 only m Disputed
l:l At least one of the debtors and another Type cr NONPR|OR|TY unsecured claim:
l:l Check if this claim is for a community n Student loans
debt l:] Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
- NO l:] Deth to pension or profit-sharing plans, and other similar debts
|:l Yes l Othe,~_ Specify Lease gaurantee
4.1 .
4 The Zen|th Last 4 digits of account number 3210 $2,257-00
Nonpriority Creditor's Name
4415 Collections Center Drive When Was the debt incurred?
Chicago, lL 60693
Number Street City State le Code As of the date you nle, the claim is: Check all that apply
Who incurred the debt? Check one.
- Debtor 1 only l:l Contingent
l:l Debtor 2 only l:l Unliquidated
l:l Debtor 1 and Debtor 2 only l:l Disputed
l:l At least one of the debtors and another Type er NONPR|OR|TY unsecured claim:
l:l Check if this claim is for a community l:l Student loans
debt l:l Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
- NO l:l Debts to pension orprotit-sharlng plans, and other similar debts
l:l Yes - Other_ Specify Trade debt
4.1 .
5 Xfin|ty Last 4 digits of account number 9007 $734-08

 

 

Nonpriority Creditor's Name
141 NW 16th Street
Pompano Beach, FL 33060-5250

 

Number Street City State le Code
Who incurred the debt? Check one.

- Debtor1 only

l:l Debtor 2 only

l:l Debtor 1 and Debtor2 only

[:l At least one of the debtors and another

l:l Check if this claim is for a community
debt
ls the claim subject to offset?

- No
l:l Yes

When was the debt incurred?

 

As of the date you file, the claim is: Check all that apply

l:l Contingent
l:l Unliquidated

El Disputed
Type of NONPR|OR|TY unsecured claim:

l:l Student loans

l:l Obligations arising out of a separation agreement or divorce that you did not

report as priority claims

l:l Debts to pension or profit-sharing plans, and other similar debts

l other. specify Trade debt

 

 

List others to Be Notified About a Debt Thet von Already Listed

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you

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Schedule ElF: Creditors Who Have Unsecured Claims

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Debtor 1 Roger L. Unger

Case number (if kndw)

1 8-40443

have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. lf you do not have additional persons to be
notified for any debts ln Parts1 or 2, do not fill out or submit this page.

On which entry irl Part 1 or Part 2 did you list the original creditor?

Name and Address

Jimmy Dye, Esquire

Llne 4.13 of (Check one):

Post Office Box 4148
Tallahassee, FL 32315

Name and Address
MRS Associates

1930 Olney Avenue

Last 4 digits of account number

l:l Part1: Creditors with Priority Unsecured Claims
- Part 2: Creditors with Nonpriority Unsecured Claims

On Which entry in Part 1 or Part 2 did you list the original creditor?

Line §§ of (Check one):

Cherry Hi|l, NJ 08003

Last 4 digits of account number

Add the Amounts for Each Type of Unsecured Claim

6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
type of unsecured claim.

 

   

 

from Part 1

 

    

v 6f.
Total
claims

’ ffromvPa.rt 2 6g.

    

6i.

ej.

Official Form 106 E/F

6a.

6b.
Gc.
6d.

6e.

Gh.

Domestic support obligations

Taxes and certain other debts you owe the government
Claims for death or personal injury while you were intoxicated

Other. Add all other priority unsecured claims. Write that amount here.

Total Priority. Add lines 6a through 6d.

Student loans

Obligations arising out of a separation agreement or divorce that
you did not report as priority claims
Debts to pension or profit-sharing plans, and other similar debts

Other. Add all other nonpriority unsecured claims. Write that amount
here.

Total Nonpriority. Add lines Sf through Gi.

Schedule ElF: Creditors Who Have Unsecured Claims

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6a

6e.

6f.

69.
6h.

61.

et

 

l:l Part 1: Creditors with Priorlty Unsecured Claims
- Part 2: Creditors with Nonpriority Unsecured Claims

t)".`c`)o'v

30.08
0.00
0.00

 

 

30.08

 

 

Total claim

 

0.00
0.00
195,296.28

o§oo

 

 

195,296.28

 

 

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